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                                    Schedule 5
 1

 2                       (The Second Element Transaction)

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                                                                                               Schedule 5 - The Second Element Transaction
                                                                                                            Payments (Plane 10)

  Date               Transferor                Transferor Bank    US Correspondent Bank 1          Transferee                Transferee Bank        US Correspondent Bank 1   Amount of Transfer                   US Nexus

             Element Aviation Inc. (at the                                                   Orion Aircraft Holdings                                                                               • Financing on behalf of Zetta PTE for 9697
9/22/2016                                                                                                                                                                       $49,500,000.00
                direction of Zetta PTE)                                                             Limited                                                                                                 (aircraft registered in US)
                                                                                                                                                                                                                 • USD Currency
                                             HSBC Singapore USD                                                                                                                                             • US Correspondent Bank
10/4/2016             Zetta PTE                                                              Element Aviation Inc.          Bank of Montreal                                  $1,625,000.00
                                                  Account                                                                                                                                            • Account Name: Element Aviation Inc.
                                                                                                                                                                                                         Account No. XXXXXXX1822
                                                                                                                                                                                                                 • USD Currency
                                             HSBC Singapore USD                                                                                                                                             • US Correspondent Bank
12/23/2016            Zetta PTE                                                              Element Aviation Inc.          Bank of Montreal                                   $650,000.00
                                                  Account                                                                                                                                            • Account Name: Element Aviation Inc.
                                                                                                                                                                                                         Account No. XXXXXXX1822
                                                                                                                                                                                                                 • USD Currency
                                             HSBC Singapore USD                                                                                                                                             • US Correspondent Bank
 2/2/2017             Zetta PTE                                                              Element Aviation Inc.          Bank of Montreal                                   $650,000.00
                                                  Account                                                                                                                                            • Account Name: Element Aviation Inc.
                                                                                                                                                                                                         Account No. XXXXXXX1822
                                                                                                                                                                                                                 • USD Currency
                                                                                               Daugherty, Fowler,                                                                                           • US Correspondent Bank
                                                                                                                             Bancfirst, Main &
                                             HSBC Singapore USD                             Peregrin, Haught & Jensen                                                                                             • To US Bank
3/28/2017             Zetta PTE                                                                                         Broadway, Oklahoma City,                                 $22,860.63
                                                  Account                                   for the benefit of Element                                                                                   • Account no: XXXXXX 1094
                                                                                                                                    OK
                                                                                                     Aviation                                                                                                  ABA: XXXXX3632
                                                                                                                                                                                                             Swift code: BFOKUS44
                                                                                                                                                                                                                 • USD Currency
                                             HSBC Singapore USD                                                                                                                                             • US Correspondent Bank
 5/5/2017             Zetta PTE                                                              Element Aviation Inc.          Bank of Montreal                                   $650,000.00
                                                  Account                                                                                                                                            • Account Name: Element Aviation Inc.
                                                                                                                                                                                                         Account No. XXXXXXX1822
                                                                                                                                                                                                                 • USD Currency
                                             HSBC Singapore USD                                                                                                                                             • US Correspondent Bank
5/23/2017             Zetta PTE                                                              Element Aviation Inc.          Bank of Montreal                                   $650,000.00
                                                  Account                                                                                                                                            • Account Name: Element Aviation Inc.
                                                                                                                                                                                                         Account No. XXXXXXX1822
                                                                                                                                                                                                                 • USD Currency
                                             HSBC Singapore USD                                                                                                                                             • US Correspondent Bank
 6/8/2017             Zetta PTE                                                              Element Aviation Inc.          Bank of Montreal                                   $650,000.00
                                                  Account                                                                                                                                            • Account Name: Element Aviation Inc.
                                                                                                                                                                                                         Account No. XXXXXXX1822
                                                                                                                                                                                                                 • USD Currency
                                                                                               Daugherty, Fowler,                                                                                           • US Correspondent Bank
                                                                                                                             Bancfirst, Main &
                                             HSBC Singapore USD                             Peregrin, Haught & Jensen                                                                                             • To US Bank
6/27/2017             Zetta PTE                                                                                         Broadway, Oklahoma City,                                 $10,553.49
                                                  Account                                   for the benefit of Element                                                                                   • Account no: XXXXXX 1094
                                                                                                                                    OK
                                                                                                     Aviation                                                                                                  ABA: XXXXX3632
                                                                                                                                                                                                             Swift code: BFOKUS44
                                                                                                                                                                                                                 • USD Currency
                                             HSBC Singapore USD                                                                                                                                             • US Correspondent Bank
 7/3/2017             Zetta PTE                                                              Element Aviation Inc.          Bank of Montreal                                   $650,000.00
                                                  Account                                                                                                                                            • Account Name: Element Aviation Inc.
                                                                                                                                                                                                         Account No. XXXXXXX1822
                                                                                                                                                                                                                 • USD Currency
                                             HSBC Singapore USD                                                                                                                                             • US Correspondent Bank
8/10/2017             Zetta PTE                                                              Element Aviation Inc.          Bank of Montreal                                   $650,000.00
                                                  Account                                                                                                                                            • Account Name: Element Aviation Inc.
                                                                                                                                                                                                         Account No. XXXXXXX1822
                                             HSBC Singapore USD
8/16/2017             Zetta PTE                                                               ECN Aviation Inc.             Bank of Montreal                                  $5,000,000.00            Account No. XXXXXXX1785
                                                  Account
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                                                                                                                                    Payments (Plane 11)
                                                                                                                   1                                                                          1
  Date                 Transferor                     Transferor Bank              US Correspondent Bank                   Transferee              Transferee Bank    US Correspondent Bank       Amount of Transfer                US Nexus

                                                                                                                                                                                                                                  • USD Currency
                                                   HSBC Singapore USD                                                                                                                                                        • US Correspondent Bank
12/27/2016              Zetta PTE                                                                                     Element Aviation Inc.       Bank of Montreal                                 $390,000.00
                                                        Account                                                                                                                                                        • Account Name: Element Aviation Inc.
                                                                                                                                                                                                                           Account No. XXXXXXX1822
                                                                                                                                                                                                                                  • USD Currency
                                                   HSBC Singapore USD                                                                                                                                                        • US Correspondent Bank
 2/2/2017               Zetta PTE                                                                                     Element Aviation Inc.       Bank of Montreal                                 $390,000.00
                                                        Account                                                                                                                                                        • Account Name: Element Aviation Inc.
                                                                                                                                                                                                                           Account No. XXXXXXX1822
                                                                                                                                                                                                                                  • USD Currency
                                                   HSBC Singapore USD                                                                                                                                                        • US Correspondent Bank
 3/2/2017               Zetta PTE                                                                                     Element Aviation Inc.       Bank of Montreal                                 $390,000.00
                                                        Account                                                                                                                                                        • Account Name: Element Aviation Inc.
                                                                                                                                                                                                                           Account No. XXXXXXX1822
                                                                                                                                                                                                                                  • USD Currency
                                                   HSBC Singapore USD                                                                                                                                                        • US Correspondent Bank
 5/5/2017               Zetta PTE                                                                                     Element Aviation Inc.       Bank of Montreal                                 $396,122.81
                                                        Account                                                                                                                                                        • Account Name: Element Aviation Inc.
                                                                                                                                                                                                                           Account No. XXXXXXX1822
                                                                                                                                                                                                                                  • USD Currency
                                                   HSBC Singapore USD                                                                                                                                                        • US Correspondent Bank
5/23/2017               Zetta PTE                                                                                     Element Aviation Inc.       Bank of Montreal                                 $396,122.81
                                                        Account                                                                                                                                                        • Account Name: Element Aviation Inc.
                                                                                                                                                                                                                           Account No. XXXXXXX1822
                                                                                                                                                                                                                                  • USD Currency
                                                   HSBC Singapore USD                                                                                                                                                        • US Correspondent Bank
 6/8/2017               Zetta PTE                                                                                     Element Aviation Inc.       Bank of Montreal                                 $396,122.81
                                                        Account                                                                                                                                                        • Account Name: Element Aviation Inc.
                                                                                                                                                                                                                           Account No. XXXXXXX1822
                                                                                                                                                                                                                                  • USD Currency
                                                   HSBC Singapore USD                                                                                                                                                        • US Correspondent Bank
 7/3/2017               Zetta PTE                                                                                     Element Aviation Inc.       Bank of Montreal                                 $396,122.81
                                                        Account                                                                                                                                                        • Account Name: Element Aviation Inc.
                                                                                                                                                                                                                           Account No. XXXXXXX1822
                                                                                                                                                                                                                                  • USD Currency
                                                   HSBC Singapore USD                                                                                                                                                        • US Correspondent Bank
8/10/2017               Zetta PTE                                                                                     Element Aviation Inc.       Bank of Montreal                                 $396,122.81
                                                        Account                                                                                                                                                        • Account Name: Element Aviation Inc.
                                                                                                                                                                                                                           Account No. XXXXXXX1822




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               A  indicates, upon Trustee’s information and belief, that a US Correspondent Bank was involved in
             transfer. A blank indicates a not applicable. A bank name indicates the US Correspondent Bank involved.
